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                                                    Plaintiffs' Preliminary Exhibit List
                  1:21-cv-01073-CMA-NRN; Aaron H. Fleck Revocable Trust, et al. v. First Western Trust Bank et al.
                    List all Exhibits by Number and Check the Box if Stipulated as to both Authenticity and Admissiblity
Exhibit                              Description                             Stipulated Admitted Excluded                  Notes
 501 Account Acceptance Initial Review -- FWTB_0000444
 502 Account Acceptance Initial Review --FWTB_0000447
 503 Account security tax detail -- FWTB_0000642
 504 Account security tax detail -- FWTB_0000643
 505 Commission by Broker -- FWTB_0003963
 506 Commission by Broker -- FWTB_0005557
 507 Defts' Responses & Objections to Ptfs' 1st Set of Discovery Requests
 508 E-mail 01-16-19 -- FWTB_0003166
 509 E-mail 02-05-18 -- FWTB_0007789
 510 E-mail 02-05-18 -- FWTB_0007790
 511 E-mail 02-08-18 -- FWTB_0007779
 512 E-mail 02-08-18 -- FWTB_0007787
 513 E-mail 02-09-18 -- FWTB_0007770
 514 E-mail 02-09-18 -- FWTB_0007783
 515 E-mail 03-13-20 -- FWTB_0007948
 516 E-mail 03-15-18 -- FWTB_0007793
 517 E-mail 03-15-18 -- FWTB_0007807
 518 E-mail 03-18-19 -- FWTB_0002125
 519 E-mail 03-19-18 -- FWTB_0007769
 520 E-mail 03-19-19 -- FWTB_0002581
 521 E-mail 03-19-19 -- FWTB_0002584
 522 E-mail 03-22-18 -- FWTB_0007775
 523 E-mail 04-13-18 -- FWTB_0007796
 524 E-mail 04-15-19 -- FWTB_0000555
 525 E-mail 04-15-19 -- FWTB_0001099
 526 E-mail 04-15-19 -- FWTB_0002437
 527 E-mail 04-15-19 -- FWTB_0003029
 528 E-mail 04-18-18 -- FWTB_0007767
 529 E-mail 05-01-19 -- FWTB_0000773
 530 E-mail 05-01-19 -- FWTB_0002382
 531 E-mail 05-03-19 -- FWTB_0001749
 532 E-mail 05-03-19 -- FWTB_0002652
 533 E-mail 05-03-19 -- FWTB_0007810
 534 E-mail 05-09-19 -- FWTB_0002699
 535 E-mail 05-15-19 -- Depo EX 0015
 536 E‐mail 05‐15‐19 ‐‐ Depo EX 0015
 537 E-mail 05-15-19 -- FWTB_0000772
 538 E-mail 05-20-19 -- FWTB_0007733
 539 E-mail 05-20-19 -- FWTB_0007748
 540 E-mail 05-21-19 -- FWTB_0002167
 541 E-mail 05-21-19 -- FWTB_0007753
 542 E-mail 05-22-18 -- FWTB_0002642
 543 E-mail 06-26-19 -- FWTB_0001100
 544 E-mail 06-26-19 -- FWTB_0002983
 545 E-mail 06-26-19 -- FWTB_0002986
 546 E-mail 07-11-20 -- FWTB_0008358
 547 E-mail 08-13-19 -- FWTB_0002423
 548 E-mail 08-13-19 -- FWTB_0003165
 549 E-mail 08-24-20 -- FWTB_0007984
 550 E-mail 09-28-20 -- FWTB_0008328
 551 E-mail 10-17-18 -- FWTB_0007818
 552 E-mail 11-01-18 -- FWTB_0007917
 553 E-mail 11-01-19 -- FWTB_0007992
 554 E-mail 11-09-17 -- FWTB_0000664
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 555 E-mail 11-15-18 -- FWTB_0007934
 556 E-mail 11-28-18 -- FWTB_0007945
 557 E-mail 11-29-18 -- FWTB_0000545
 558 E-mail 12-11-18 -- FWTB_0008343
 559 Fee Schedule Agreement -- FWTB_0000426
 560 Fleck 2018 year end gainloss reconcilliation -- FWTB_0002126
 561 Investment Management and Banking Discussion -- FWTB_0008115
 562 Investment Services and Custody Agreement -- FWTB_0000414
 563 Investment Services and Custody Agreement -- FWTB_0000420
 564 IPS -- FWTB_0000437
 565 New Account Information Form -- FWTB_0000427
 566 New Account Information Form -- FWTB_0000432
 567 Notes 04-15-19 -- FWTB_0000460
 568 Notes 04-15-19 -- FWTB_0000947
 569 Notes 05-20-19 -- FWTB_0000461
 570 Portfolio Appraisal -- FWTB_0000774
 571 Portfolio Appraisal -- FWTB_0001103
 572 PURCHASE AND SALE -- FWTB_0000611
 573 PURCHASE AND SALE -- FWTB_0000624
 574 Quarterly Report -- FWTB_0000941
 575 Quarterly Report -- FWTB_0001102
 576 Quarterly Report -- FWTB_0001819
 577 REALIZED GAINS AND LOSSES -- FWTB_0002658
 578 Tax Information Statement -- FWTB_0007440
 579 Tax Information Statement -- FWTB_0007468
 580 TRANSACTION REPORT -- FWTB_0005570
 581 TRANSACTION SUMMARY -- FWTB_0003970
 582 Trust and Investment Management Risk Rating -- FWTB_0000450
 583 Trust and Investment Management Risk Rating -- FWTB_0000452
 584 Trust Statement -- FWTB_0000001
 585 Trust Statement -- FWTB_0000010
 586 Trust Statement -- FWTB_0000024
 587 Trust Statement -- FWTB_0000041
 588 Trust Statement -- FWTB_0000055
 589 Trust Statement -- FWTB_0000068
 590 Trust Statement -- FWTB_0000082
 591 Trust Statement -- FWTB_0000085
 592 Trust Statement -- FWTB_0000098
 593 Trust Statement -- FWTB_0000103
 594 Trust Statement -- FWTB_0000112
 595 Trust Statement -- FWTB_0000130
 596 Trust Statement -- FWTB_0000140
 597 Trust Statement -- FWTB_0000155
 598 Trust Statement -- FWTB_0000170
 599 Trust Statement -- FWTB_0000184
 600 Trust Statement -- FWTB_0000193
 601 Trust Statement -- FWTB_0000207
 602 Trust Statement -- FWTB_0000226
 603 Trust Statement -- FWTB_0000240
 604 Trust Statement -- FWTB_0000254
 605 Trust Statement -- FWTB_0000268
 606 Trust Statement -- FWTB_0000271
 607 Trust Statement -- FWTB_0000285
 608 Trust Statement -- FWTB_0000290
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 609 Trust Statement -- FWTB_0000300
 610 Trust Statement -- FWTB_0000319
 611 Trust Statement -- FWTB_0000330
 612 Trust Statement -- FWTB_0000346
 613 Trust Statement -- FWTB_0000362
 614 Trust Statement -- FWTB_0000645
 615 Trust Statement -- FWTB_0000654
 616 Trust Statement -- FWTB_0000782
 617 Trust Statement -- FWTB_0000785
 618 Trust Statement -- FWTB_0001105
 619 Trust Statement -- FWTB_0001114
 620 Trust Statement -- FWTB_0007496
 621 Trust Statement -- FWTB_0007515
 622 Unrealized Gains and Losses --FWTB_0002664
 623 Wealth Advisory Discussion -- FWTB_0008232
